     2:10-cv-00791-DCN               Date Filed 07/06/10      Entry Number 16-5             Page 1 of 3



                                                                                                            Page 1

Not Reported in F.Supp.2d, 2004 WL 953869 (E.D.Pa.)
(Cite as: 2004 WL 953869 (E.D.Pa.))



                                                                    other than Pennsylvania.
  Only the Westlaw citation is currently available.
                                                           (c) The complaint alleges that Mrs. Middlekauff was
           United States District Court,                   subjected to a sexual assault in March of 2002, and it
               E.D. Pennsylvania.                          asserts a variety of tort claims against Manor Care;
 Barbara Jean YOUNG, Executrix of the Estate of
            Evelyn Ruth Middlekauff                        (d) In the motion now before us, Manor Care seeks
                        v.                                 dismissal of several claims pursuant to Fed.R.Civ.P.
 MANOR CARE HEALTH SERVICES, INC. et al.                   12(b)(6), and we examine each of its contentions in
              No. Civ.A. 03-6864.                          turn; FN2

                   April 20, 2004.                                  FN2. In resolving a motion to dismiss pur-
                                                                    suant to Fed.R.Civ.P. 12(b)(6), we look only
William T. Lawson, III, Philadelphia, PA, for Plain-                to the facts alleged in the complaint and its
tiff.                                                               attachments. Jordan v. Fox, Rothschild,
                                                                    O'Brien & Frankel, 20 F.3d 1251, 1261 (3d
                                                                    Cir.1994). We accept as true all factual alle-
Marshall L. Schwartz, Stephanie M. Allison, O'Brien
                                                                    gations in the complaint, and we draw all
& Ryan LLP, Plymouth Meeting, PA, for Defen-
                                                                    reasonable inferences therefrom in the light
dants.
                                                                    most favorable to the non-movant. General
                                                                    Motors Corp. v. New A.C. Chevrolet, Inc.,
                      ORDER                                         263 F.3d 296, 325 (3d Cir.2001). Although
                                                                    we need not accept as true “unsupported
DALZELL, J.                                                         conclusions and unwarranted inferences,”
                                                                    we must deem the complaint to have alleged
*1 AND NOW, this 20th day of April, 2004, upon                      sufficient facts if it adequately provides the
consideration of defendants Manor Care Health Serv-                 defendants with notice of the essential ele-
ices, Inc., Manor Care of America, Inc., Manor Care                 ments of the plaintiff's claims. Langford v.
Properties, Inc., Manor Care of Delaware County,                    City of Atlantic City, 235 F.3d 845, 847 (3d
Inc., and Health Care and Retirement Corporation of                 Cir.2000); Schuylkill Energy Res., Inc. v.
America, Inc.'s (“Manor Care”) motion to dismiss                    Pennsylvania Power & Light Co., 113 F.3d
(docket entry # 10) and plaintiff Barbara Jean                      405, 417 (3d Cir.1997). We may dismiss a
Young's response thereto, and the Court finding that:               complaint “only if it is clear that no relief
                                                                    could be granted under any set of facts that
(a) Plaintiff Barbara Jean Young is the executrix of                could be proved consistent with the allega-
the estate of Evelyn Ruth Middlekauff, her mother;                  tions.” Hishon v. King & Spalding, 467 U.S.
                                                                    69, 73, 104 S.Ct. 2229, 81 L.Ed.2d 59
                                                                    (1984).
(b) According to the amended complaint in this di-
versity action,FN1 Mrs. Middlekauff suffered from
Alzheimer's Disease and was admitted to Manor              (e) First, Manor Care seeks dismissal of Young's cor-
Care's facility in Dallastown, Pennsylvania, on Octo-      porate negligence claims;
ber 20, 1999;
                                                           (f) In Thompson v. Nason Hospital, 527 Pa. 330, 591
        FN1. According to the amended complaint,           A.2d 703, 707-08 (Pa.1991), the Pennsylvania Su-
        Young is a citizen of Pennsylvania, and the        preme Court held that “the corporate hospital's role in
        defendants are all Delaware corporations           the total health care of its patients” justified the im-
        with principal places of business in states        position of a non-delegable duty of care FN3 that the




                           © 2010 Thomson Reuters. No Claim to Orig. US Gov. Works.
      2:10-cv-00791-DCN                   Date Filed 07/06/10      Entry Number 16-5             Page 2 of 3
                                                                                                                Page 2

Not Reported in F.Supp.2d, 2004 WL 953869 (E.D.Pa.)
(Cite as: 2004 WL 953869 (E.D.Pa.))

hospital owes directly to its patients;
                                                                (1) Under Pennsylvania law, a statute may be the
         FN3. According to the Court, the duty has              basis for a negligence per se claim “when it is clear
         four elements: (1) a duty to use reasonable            that, despite the absence of a private right of action,
         care in the maintenance of safe and adequate           the policy of the statute will be furthered by such a
         facilities and equipment; (2) a duty to select         claim because its purpose is to protect a particular
         and retain only competent physicians; (3) a            group of individuals”, McCain v. Beverly Health and
         duty to oversee all persons who practice               Rehabilitation Services, Inc., No. 02-657, 2002 WL
         medicine within its walls as to patient care;          1565526, at *1 (E.D.Pa. July 15, 2002) (Ludwig, J.);
         and (4) a duty to formulate, adopt, and en-
         force adequate rules and policies to ensure            *2 (m) In view of this jurisprudence, the viability of
         quality care for patients. Thompson, 591               Count II hinges on an analysis of each statute and
         A.2d at 707.                                           regulation;

(g) More recently, the Pennsylvania Superior Court              (n) Because Manor Care apparently did not under-
has held that the doctrine of corporate liability ex-           stand that Young is asserting claims for negligence
tends to health maintenance organizations because,              per se and accordingly did not engage in the neces-
like hospitals, they play a central role in the total           sary analysis, we deny this aspect of the motion
health care of their subscribers, Shannon v. McNulty,           without prejudice to its reassertion in a more com-
718 A.2d 828, 835-36 (Pa.Super.1998);                           prehensively briefed motion for summary judgment;

(h) Although no appellate court in Pennsylvania has             (o) Next, Manor Care seeks to “dismiss” allegations
extended corporate liability to nursing homes, we               in the amended complaint relating to its conduct after
agree with Young that, for the purposes of Rule                 the alleged sexual assault; FN5
12(b)(6), it is conceivable that the Dallastown facility
took responsibility for Mrs. Middlekauff's “total                        FN5. The amended complaint alleges that
health care” and thus would come within the ambit of                     Manor Care failed to notify Mrs. Mid-
the corporate negligence doctrine,FN4 accord                             dlekauff's family promptly, document the in-
Aptekman v. City of Philadelphia, No. 01-4963, 2001                      jury, conduct a full investigation of the inci-
WL 1486350, at *3 (E.D.Pa. Nov.21, 2001) (New-                           dent, preserve evidence, cooperate with the
comer, S.J.);                                                            authorities, or implement remedial meas-
                                                                         ures.
         FN4. In support of its argument that the cor-
         porate negligence doctrine does not extend             (p) We construe this portion of the motion not as a
         to nursing homes, Manor Care has cited the             motion to dismiss but instead as a motion to strike
         unpublished opinion in Butts v. Manor Care,            under Fed.R.Civ.P. 12(f);
         Inc., No.2000-2735 (Lehigh County, Jan.
         25, 2001), but it neglected to attach a copy
         of the opinion to the motion.                          (q) Motions to strike are “not favored [and] usually
                                                                will be denied unless the allegations have no possible
                                                                relation to the controversy and may cause prejudice
(i) We therefore deny this aspect of the motion;                to one of the parties”, 5A Wright & Miller, Federal
                                                                Practice and Procedure: Civil 2d § 1382;
(j) Next, Manor Care argues that Young has failed to
state a claim in Count II because a private cause of            (r) Here, the factual allegations about Manor Care's
action is not available under any of the statutes and           response to the alleged assault are highly material to
regulations she references in this count;                       this litigation because, as Young has noted in re-
                                                                sponse to the motion, evidence on this issue may be
(k) Young has responded that Count II does not assert           admissible and conceivably could result in sanctions
private causes of action but instead states a claim for         for spoliation of evidence, see Schmid v. Milwaukee
negligence per se;                                              Electric Tool Corp., 13 F.3d 76, 78 (3d Cir.1994);




                             © 2010 Thomson Reuters. No Claim to Orig. US Gov. Works.
     2:10-cv-00791-DCN              Date Filed 07/06/10      Entry Number 16-5        Page 3 of 3
                                                                                                Page 3

Not Reported in F.Supp.2d, 2004 WL 953869 (E.D.Pa.)
(Cite as: 2004 WL 953869 (E.D.Pa.))

Schroder v. Comm. Dept. of Transp., 551 Pa. 243,
710 A.2d 23, 26-28 (Pa.1998);

(s) We therefore deny this aspect of the motion with-
out prejudice to an appropriate motion in limine at
the time of trial;

(t) Finally, Manor Care seeks dismissal of Count V,
which largely rehearses the allegations in Counts I-IV
but alleges that Manor Care acted recklessly or inten-
tionally;

(u) Under Pennsylvania law, punitive damages are
available against a health care provider who acts with
“willful or wanton conduct or reckless indifference to
the rights of others”, 40 Pa. C .S. § 1301.812-A(a);

(v) Young's allegations in Count V satisfy this stan-
dard, and we therefore deny this aspect of the motion,
accord McCain, 2002 WL 1565526, at *2;

It is hereby ORDERED that the motion is DENIED
in accordance with the foregoing paragraphs.

E.D.Pa.,2004.
Young Estate of Middlekauff v. Manor Care Health
Services, Inc.
Not Reported in F.Supp.2d, 2004 WL 953869
(E.D.Pa.)

END OF DOCUMENT




                           © 2010 Thomson Reuters. No Claim to Orig. US Gov. Works.
